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  6 PERFECTUS ALUMINUM ACQUISITIONS LLC
  7
  8
                                      UNITED STATES DISTRICT COURT
  9
                     CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 10
      UNITED STATES OF AMERICA,                     Case No. 19-cr-00282 RGK
 11
                         Plaintiff,
 12                                                 Judge: R. Gary Klausner
                   vs.
 13
      ZHONGTIAN LIU,                                PERFECTUS DEFENDANTS’
 14        aka “Liu Zhongtian,”                     RESPONSE TO THE
           aka “Chairman,”                          GOVERNMENT’S SENTENCING
 15        aka “Uncle Liu,”                         POSITION AND OBJECTIONS TO
           aka “UL,”                                THE PRESENTENCE
 16        aka “Big Boss,”                          INVESTIGATION REPORT
      CHINA ZHONGWANG HOLDINGS
 17   LIMITED,                                      (CORRECTED VERSION)
           aka “ZW,”
 18        aka “Mother Ship,”
      ZHAOHUA CHEN,                                 Sentencing Date:   April 11, 2022
 19        aka “Chen Zhaohua,”                      Time:              1:30 p.m.
           aka “Uncle Chen,”
 20   XIANG CHUN SHAO,
           aka “Johnson Shao,”
 21   PERFECTUS ALUMINIUM, INC.,
           aka Perfectus Aluminum Inc.,”
 22   PERFECTUS ALUMINUM
      ACQUISITIONS, LLC,
 23   SCUDERIA DEVELOPMENT, LLC,
      1001 DOUBLEDAY, LLC,
 24   VON KARMAN - MAIN STREET,
      LLC, and
 25   10681 PRODUCTION AVENUE, LLC,
 26                      Defendants.
 27   Sentencing




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  1        Defendants Perfectus Aluminum, Inc. (“PAI”), and Perfectus Aluminum
  2 Acquisitions, LLC (“PAA”) (collectively, the “Perfectus Defendants”), through their
  3 attorneys of record, RuyakCherian, LLP, hereby submit their response to the
  4 government’s position regarding sentencing and objections to the Presentence
  5 Reports.
  6
  7 Dated March 14, 2022            RUYAKCHERIAN, LLP
  8
  9
 10                                 By:____________________
 11                                       Robert F. Ruyak (Pro Hac Vice)
 12                                 Attorneys for Defendants
                                    PERFECTUS ALUMINUM, INC and
 13
                                    PERFECTUS ALUMINUM
 14        `                        ACQUISITIONS, LLC
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        PERFECTUS DEFENDANTS’ RESPONSE TO THE GOVERNMENT’S SENTENCING POSITION AND
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 1 I.      INTRODUCTION
 2      Defendants Perfectus Aluminum, Inc (“PAI”) and Perfectus Aluminum
 3 Acquisitions, LLC (“PAA”), (collectively, the “Perfectus Defendants” or
 4 “Defendants”) reply and object to the Government’s Sentencing Position and
 5 Objections to the Presentence Investigation Report, filed with this court on
 6 February 28, 2022. (Dkt.348)
 7      First, The Government erroneously contends that the MVRA applies in this
 8 case to warrant the imposition of restitution, which it does not. The Perfectus
 9 Defendants objections to the application of the MVRA in this case is set forth more
10 fully, with controlling authorities, in Perfectus Defendants’ Sentencing
11 Memorandum: Objections To Presentence Report; and Sentencing Summary Chart,
12 filed with this Court on February 28, 2022. (Dkt.346) In sum, neither the
13 conspiracy conviction under Count One nor the underlying charged offenses of
14 Passing False Papers through a Customs House, under Counts Eleven through
15 Seventeen, and Wire Fraud, under Counts Two through Ten, provide a statutory
16 basis for the application of the MVRA. The CBP is not a “victim,” nor has it
17 incurred “losses” as defined by the MVRA statute. (Dkt.346 at 6-11) Nor are the
18 entities listed in the Presentence Report (Dkt.333 at 25) “individual victims,” as the
19 Government contends. None of them has ever held beneficial ownership of CZW
20 stock and, thus, has never experienced either gains or losses related to changes in
21 the value of CZW stock, which the Government contends is the basis for MVRA
22 restitution. (Dkt.346 at 12-15)
23    Second, the Government argues, yet provides no evidence, that the Perfectus
24 Defendants have the financial ability to pay $1.5 billion. The Government objects
25 to the findings of the Presentence Report that the total remaining assets of the
26 Perfectus Defendant corporate entities is limited to the value of the aluminum
27 pallets owned by PAI and now in the custody of the Government. (Dkt.348 at 8)
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 1 Despite a government investigation and prosecution that spanned more than five
 2 years, and seizing all of the corporate records of the Perfectus Defendants, the
 3 Government can only provide theories, not evidence, arguing that “it is fair to
 4 conclude” that the Perfectus Defendants should have other assets. Yet the evidence
 5 is clear that these entities ceased operations in 2015, and that they own no
 6 facilities, equipment, inventory (other than the seized pallets), investments, sources
 7 of revenue or cash accounts.
 8       Third, the government argues that the Perfectus Defendants should be fined in
 9 the amount of $1.96 billion. But there is no statutory basis for such a fine. Even if
10 a fine were applicable, it would be limited by both the net asset value of the
11 Perfectus Defendants and the combined statutory maximum for the convicted
12 offenses.
13 II.      PROCEDURAL HISTORY
14          On August 23, 2021, the jury convicted the Perfectus Defendants on Counts
15 One through Twenty-four of the Indictment. (Dkt.276) Count One of the
16 Indictment charged the Defendants with Conspiracy under 18 U.S.C. § 371. (Dkt.
17 1) Counts Two through Ten charged them with wire fraud under 18 U.S.C. §
18 1343. Counts Eleven through the Seventeen charged the Defendants with passing
19 false and fraudulent papers through customhouse under 18 U.S.C. § 545. Counts
20 Eighteen through Twenty-four charged the Defendants with international
21 promotional money laundering under 18 U.S.C. § 1956 (a)(2(A).
22          On January 24, 2022, Probation submitted the Presentence Reports for the
23 Perfectus Defendants. (Dkt.333; Dkt.334) On February 28, 2022, the Perfectus
24 Defendants filed detailed Joint Objections to the Presentence Reports. (Dkt.346;
25 Dkt.347) Those submissions by the Perfectus Defendants demonstrated that there
26 is no legal authority to order the Perfectus Defendants to pay restitution in this
27 case. Also on February 28, 2022, the government filed a submission setting forth
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 1 its sentencing positions and objections to the Presentence Reports. (Dkt.348)
 2 Sentencing is currently set for April 11, 2022, at 1:30 p.m. (Dkt.340)
 3 III.    THE PERFECTUS DEFENDANTS’ RESPONSE TO THE
 4         GOVERNMENT’S SENTENCING POSITION AND OBJECTIONS
 5         TO THE PRESENTENCE REPORTS
 6         A.    The Government Erroneously Contends That This Case Represents
 7               Actual Losses of Nearly $2 Billion That are Subject To Restitution
 8               Under the MVRA.
 9         The Government’s position must be rejected since it runs afoul of the
10 statutory framework of the Mandatory Victim Restitution Act (“MVRA”). A
11 conspiracy conviction is, on its own, insufficient to justify a restitution award
12 under the MVRA (Dkt.346 at 4-6), and Courts must, instead, look to the
13 underlying substantive convictions. But the underlying convictions here, customs
14 fraud and wire fraud, do not support restitution under the facts of this case as
15 alleged and proven.
16         The customs fraud counts—Counts Eleven through Seventeen—do not
17 support the imposition of restitution based on the unpaid AD/CVD duties on the
18 aluminum pallets the Perfectus Defendants imported. (Dkt.346 at 6-11) As a matter
19 of law, the CBP is not entitled to any restitution because the Perfectus Defendants’
20 Section 545 convictions are not offenses against any property interest. The CBP
21 does not have a “property right” in the claimed AD/CVD duties. The Department
22 of Commerce’s decision to impose an import barrier—AD/CVD duties on
23 aluminum extrusions imported from the People’s Republic of China — creates no
24 such property right. The imposition of AD/CVD duties is purely regulatory.
25 (Dkt.346 at 9) Nor are there any other “victims” under the MVRA. Since the
26 government takes the position that Perfectus “never sold a single CZW pallet” in
27 the U.S. (Dkt.333 at 12, ¶ 48.), it must concede that there is no evidence of harm to
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 1 the U.S. domestic aluminum industry or any other victim as a result of these
 2 importations.
 3         In addition, restitution for the claimed duties cannot be ordered as a matter
 4 of law. Here, the Court of International Trade (“CIT”) has already ruled on this
 5 very issue, finding that it could “provide no further relief” for CBP to recover any
 6 additional AD/CV duties on these same aluminum pallets because those entries had
 7 been conclusively liquidated. See Perfectus Aluminum, Inc. v. United States, 391 F.
 8 Supp. 3d 1341, 1357–58 (Ct. Int’l Trade 2019, aff’d, 836 Fed. Appx. 883 (Fed. Cir.
 9 2020)).
10         Despite the fact that its criminal investigation was pending at the time of the
11 CIT’s decision, and the Indictment was returned while the CIT’s decision was on
12 appeal before the Federal Circuit, the government never disputed that liquidation
13 was final. Because the government has conceded and accepted a final judgment
14 that it is not entitled to recover, the government is now barred by the doctrine of
15 judicial estoppel from asserting a “clearly inconsistent” position at sentencing
16 seeking “restitution” for something it has no right to recover. (See Dkt.346 at 9-11)
17         The Perfectus Defendants also object to Government’s position that the
18 Perfectus Defendants pay restitution in the collective amount of $124,270,000 to a
19 list of purported “institutional investors.” The 28 “institutional investors”
20 identified by the government are not “victims” under the MVRA. (Dkt.333 at 25)
21 They were not, at any time, beneficial owners of the common stock in CZW, and,
22 therefore by definition, could not have suffered a loss.
23         Each of the 28 institutional investors is either a United States or foreign
24 “Exchange Traded Fund” (“ETF”) — who simply oversee the management and
25 marketing of ETFs. These management and advisory funds are not exposed to the
26 risks of changes in the stock prices of the individual companies that comprise the
27 ETF. ETFs are distinct from their clients (referred to as referred to as “Authorized
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 1 Participants”), who purchase and hold the shares of the individual stocks that
 2 comprise ETFs. In short, none of the firms identified by the Probation have any
 3 property interests in the CZW stock, or can be shown to have suffered any property
 4 losses and do not qualify as “victims.”
 5         Moreover, they cannot be used as proxies for unnamed and unidentified
 6 victims because the identification of the actual victims “is a statutory prerequisite
 7 to the application of the MVRA.” United States v. Catoggio, 326 F.3d 323, 328
 8 (2nd Cir. 2003).
 9         Even if there were identified victims here —which there are not—there is no
10 reliable evidence of a quantifiable loss. The basis adopted by the government used
11 to measure shareholder restitution proposed by Probation is wholly unreliable and
12 therefore unusable.
13         The methodology purportedly relied on as the measure of shareholder
14 restitution is defined in economic terms as a “corrective disclosure.” But no
15 “corrective disclosure” occurred here. The government relies solely upon The
16 Dupré Report, authored and released by a then-anonymous short seller who
17 expressly admitted to having a financial interest in the potential decline in CZW’s
18 stock price. (Dkt.346 at 16, Dkt.333 at 13) This is wholly inadequate. The Ninth
19 Circuit held that blogs posts “authored by anonymous short-sellers who had a
20 financial incentive to convince others to sell” and that “included disclaimers from
21 the authors stating that they made ‘no representation as to the accuracy or
22 completeness of the information set forth in this article’ could not plausibly
23 constitute corrective disclosures.” In re Bofl Holding, Inc. Security Litigation, 977
24 F.3d 781, 797 (9th Cir. 2020) (Dkt.346 at 16).
25         Alternatively, applying well-settled law on causation in the securities fraud
26 context, it is clear that the government’s position is not based upon any reliable
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 1 evidence to prove either but for causation or proximate cause for the purported
 2 aggregated loss. (Dkt.346 at 16)
 3           In addition, such proof of aggregate loss would be insufficient. For
 4 restitution purposes, proof of loss would require information related to the
 5 thousands of actual shareholders and the possibly thousands of individual
 6 transactions made by those shareholders at a myriad of points in time, before
 7 assessing whether any one or more of the actual shareholders were affected by the
 8 events at issue in this case. No such assessment of this type with respect to any
 9 actual shareholders of ZCW stock has been made by the government, or anyone
10 else. Nor is it likely possible.
11           Finally, the amounts of restitution quantified for each purported individual
12 victim is significantly and irreparably flawed. As inferred from Probation’s
13 description of its estimate, any loss is measured by the change in CZW’s share
14 price multiplied by the number of shares managed by each fund at the time of the
15 loss. Since CZW was listed on the SEHK, shares were priced and traded in Hong
16 Kong dollars. As such, share price changes would necessarily have to be converted
17 to USD. The one-day price change relied on by Probation, as properly converted,
18 amounts to $0.04 USD per share – a number to which the government’s expert
19 agrees.1
20           However, under these premises, the government’s estimates of “losses” by
21 these entities do not make mathematical sense based upon the actual dollar value of
22 the stocks under their management for shareholders.
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25
     The government’s expert agreed that share price change associated with release
      1
26 of the Dupré Report amounted to a decline of $0.04 USD per share. (Dkt.346 at
27 19)
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          PERFECTUS DEFENDANTS’ RESPONSE TO THE GOVERNMNET’S SENTENCING POSITION AND
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 1          A review of the three largest funds listed—Dimensional Fund Advisors LP,
 2 The Vanguard Group Inc., and Norges Bank Investment Management—illustrates
 3 the enormous discrepancies. In August 2015, Dimensional managed 48.2 million
 4 shares; Vanguard managed 39.5 million shares; and Norges managed 20 million
 5 shares. Based on the $0.04 USD per share decline, losses, in US dollars, would
 6 amount to: (i) $1.93 million for Dimensional; (ii) $1.58 million for Vanguard; and
 7 (iii) $800,000 for Norges. Yet the presentence report claims that Dimensional’s
 8 loss equals $43.3 million, Vanguard’s loss $35.2 million, and Norges’ loss $17.6
 9 million. (Dkt.346 at 19) In the aggregate, this amounts to an overestimate in the
10 absurd amount of approximately $93.4 million for these three funds alone – more
11 than twenty times the proper calculation in USD.
12          This absurdity continues when comparing the identified losses listed in the
13 Presentence report against the actual values of the managed stocks in 2015. Using
14 available published information, in 2015 Norges indicated that the year-end value
15 of the CZW stock under its management amounted to $11.7 million USD. Yet,
16 Probation represents in its report that Norges, supposedly suffered a one-day loss
17 of $17,582,107.18 USD, which is 50% greater than the entire value of its2015
18 managed holdings -- a completely nonsensical mathematical result. (See Dkt.364 at
19 18-20, 25)
20          Probation’s calculations, as adopted by the government, are fraught with
21 error, factually and mathematically impossible, and entirely unreliable.
22          B.    The Government Contends, Without Any Factual Basis, That the
23                Perfectus Defendants Have the Financial Ability to Pay $1.5 Billion.
24          The government’s position that the Perfectus Defendants have net assets of
25 at least $1.5 billion is apocryphal – merely a counterfactual pretense for their
26 requests for restitution and/or fines at sentencing. In making this argument, the
27 government chooses to ignore their own allegations in the indictment and evidence
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 1 at trial, as well as well-recognized accounting principles. In sum, they choose to
 2 assume, not prove, that the defendants have assets, in cash or otherwise, of $1.5
 3 billion, and that all of the companies’ liabilities should be simply disregarded.
 4 (Dkt.348 at 9-12)
 5           Considering the Governments own factual allegations in support of the
 6 convictions, this position is untenable. The government continues to assert that:
 7                i.     Funds were provided by Mr. Liu, the alleged real owner
 8                       of Perfectus, to purchase the aluminum pallets. (Dkt.348
 9                       at 10-11; Dkt.333 at 12)
10                ii.    The funds provided were used by Perfectus to purchase
11                       the aluminum pallets. (Id.)
12                iii.   None of the aluminum pallets were ever sold in the
13                       United States after importation. (Dkt.333 at 11-12)
14          It is recognized, common practice for owners and/or investors in corporate
15 entities to provide capital in the form of loans to fund the entity’s operations, such
16 as the purchase of inventory and business operating expenses. And it is normal
17 accounting practice to recognize such funds as loans. Similarly, it is common
18 business practice to finance inventory through the use of loans. In either case,
19 funds used to make such purchases are recognized as liabilities of the corporate
20 entity. Offsetting these liabilities are the assets, here the inventory of purchased
21 products.
22          Yet, the government claims that the funds provided to Perfectus should have
23 been recognized as “income” rather than a liability (Dkt.348 at 11, Fn. 6), despite
24 the fact that they allege no income producing transactions associated with the
25 creation of such funds.
26          They similarly contend that the loans and accounts payables of Perfectus
27 were “fictitious” (Id.), and “should be disregarded” while continuing to allege, to
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 1 the contrary: that the company operated and used real money to fund both
 2 operations and the purchase of the pallets. In short, Perfectus, regardless of the
 3 convictions here, properly accounted for the assets and liabilities associate with its
 4 operations, they are real, and neither can be disregarded based on the factual record
 5 here.
 6          The evidence is clear. The Perfectus Defendant entities failed financially,
 7 and in 2015 had a net asset value, properly accounted for, in the amount of a
 8 negative $80 million. (Dkt.333 at18-20) Moreover, the disposition of assets and the
 9 settlement of liabilities is a normal process in the winddown of failing corporate
10 entities.
11          The only conclusion that can be drawn from the facts in this case is that the
12 Defendant corporations have a combined negative net asset value, and the only
13 assets remaining are the pallets that have been seized and are being held by the
14 government. There are no other sources of funds, real or imagined, to support the
15 government’s request for a payment by the Perfectus Defendants of $1.5 Billion.
16          C.    The Government’s Contention That a Fine OF $1.96 Billion Is
17                Applicable under the Statutes Is Wrong.
18          Finally, citing U.S.S.G. § 8C1.1, the government takes the position that, if
19 the Court does not order restitution of $1.96 billion, then “the Court impose a fine
20 sufficient to divest each defendant of all assets” in that same amount of $1.96
21 billion. (Dkt.348. at 8) But such an enormous fine, in excess of the Perfectus
22 Defendants’ net assets, has no factual or statutory basis.
23          Even if the Court were to find that § 8C1.1 applies, the plain language of
24 that guideline section acknowledges that the applicable fine must be limited to the
25 statutory maximum. See U.S.S.G. § 8C1.1 (“the fine shall be set at an amount
26 (subject to the statutory maximum) sufficient to divest the organization of all its
27 net assets.”) Thus, as a threshold matter, the Court should reject any suggestion by
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 1 the government that § 8C1.1 permits the Court to order a fine of the magnitude that
 2 the government now suggests. If a fine is deemed appropriate, such fine under §
 3 8C1.1 must be capped at the statutory maximum permitted.
 4          As detailed above, the Perfectus Defendants are not operating companies
 5 and have had no business activity in calendar years 2016 through the present
 6 (Dkt.333 at 20) Their existing assets are limited to the aluminum pallets currently
 7 in the possession of the government. (Dkt.333 at 20) They have had no revenue
 8 since 2015; no facilities; no inventory (other than the seized pallets) and no cash
 9 accounts. The financials show that prior to ceasing operations in 2015 that the
10 Perfectus Defendants had a combined negative “net asset” value in excess of $80
11 million. (Dkt.333 at. 18)
12          The Perfectus Defendants were convicted here of one count of conspiracy,
13 nine counts of wire fraud, seven counts of customs fraud, and seven counts of
14 international money laundering — twenty-four counts total. (Dkt.276) The
15 applicable statutes for the conspiracy conviction, 18 U.S.C. § 371, and for the
16 money laundering convictions, 18 U.S.C. § 545, do not identify the maximum fine
17 for such offenses. In that case, the fines for organizations set forth in 18 U.S.C. §
18 3571 apply. As for the wire fraud convictions, 18 U.S.C. section 1343 only sets a
19 maximum fine in circumstances that do not apply here. See 18 U.S.C. § 1343.
20 Thus, the fines for organizations set forth in § 3571 also apply to the wire fraud
21 convictions. Applying § 3571, the maximum fine allowed in this case is either not
22 more than $500,000 for a felony, or an alternative fine of “not more than the
23 greater of twice the gross gain or twice the gross loss, unless imposition of a fine
24 under this subsection would unduly complicate or prolong the sentencing process.”
25 18 U.S.C. § 3571(d).
26          Here, the alternative fine described in section 3571, subsection (d) does not
27 apply. The record is clear that the Perfectus Defendants did not realize a gain of
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 1 any kind. In fact, the government took the position at trial that “not a single pallet
 2 imported by Perfectus was ever sold in the U.S.” (Dkt.333 at 12, ¶ 48) Thus, there
 3 is no evidence that the Perfectus Defendants ever realized any “gains” in revenue
 4 or otherwise from the imported pallets in the U.S. -- because the government
 5 admits none were sold. Similarly, as discussed in full in Perfectus Defendants’
 6 joint objections the Presentence Report (Dkt.346), there were no losses to any
 7 “victims.” (See e.g., Dkt.346, at 2-11). The ADCVD duties do not constitute
 8 losses to the government and, in any event, the right to collect any such duties were
 9 found uncollectable by court decision and judicial estoppel. (Dkt.346 at.11)
10          Accordingly, the maximum fine for counts One through Seventeen cannot
11 exceed $8.5 million—$500,000 multiplied by the 17 convictions. In addition, the
12 maximum fine for Counts eighteen through Twenty-four cannot exceed
13 $20,459,650 – the total amount of the monetary transactions alleged ($10,229,825)
14 multiplied by Two under 18 U.S.C. 1956 (a) (2). Combining these statutory
15 maximum fines under the applicable statutes results in a maximum fine in this case
16 for all convicted counts of $28,959,975.
17          Government also takes the position that the Pallets are not available for
18 satisfying restitution or fines because they have been seized by the government.
19 However, seizures by the government of corporate assets remain the property of
20 the defendant unless forfeited pursuant to court order. See F.R.Crim.P. 32.2. The
21 government seems to misunderstand the difference between “seizure” and
22 “forfeiture.” With seizure the government only obtains possession; only with a
23 court ordered forfeiture at sentencing does the government obtain title. See
24 Langbord v. United States Department of Treasury, 832 F.3d 170, 183 (3rd Cir.
25 2016). All three forfeiture allegations of the indictment under 18 U.S.C. § 981 (a)
26 (1) (c) and §892, provide, as required by Rule 32.2, that “the United States will
27 seek forfeiture as part of any sentence.” (Dkt.1 at 49-58) In addition, Supreme
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         PERFECTUS DEFENDANTS’ RESPONSE TO THE GOVERNMNET’S SENTENCING POSITION AND
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 1 court precedent is to the contrary. Forfeitures –payments in kind – are “fines” if
 2 they constitute punishments for an offense, must be considered as such at the time
 3 of sentencing, and should be counted as fines in light of the Excessive Fines clause
 4 of the Eighth Amendment. United States v. Bajakjian, 524 U.S. 321 (1998).
 5          Here in light of the maximum fines of $28,959,975 that can be imposed
 6 under the applicable statutes, and the value of the pallets, which the Presentence
 7 Report estimates at $60,141,98, a combination of both as part of the sentencing
 8 would amount to a fine that is more than three times the maximum statutory
 9 amount, and would constitute an excessive fine in violation of the Eighth
10 Amendment.
11 IV.      CONCLUSION
12          For the foregoing reasons, the Court should sentence the Perfectus
13 Defendants to terms of probation that do not include restitution. If, however, the
14 Court is inclined to order that restitution be paid as a condition of probation, the
15 Perfectus Defendants respectfully request that an evidentiary hearing be held to
16 determine the total amount of restitution owed, the apportionment of the restitution
17 obligation among the defendants, and the appropriate payment schedule for each
18 defendant.
19          Moreover, if the Court is inclined to order any fines in this case, the
20 Perfectus Defendants respectfully request that they be set in a manner consistent
21 with §8C1.1 as not in excess of the Perfectus Defendants’ net assets, and in
22 conformance with the Guidelines, in a calculated amount not to exceed the
23 statutory maximum of $28,959,975.
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 1 Dated March 14, 2022
 2
 3                                        By: ________________________
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                                          Aka “PERFECTUS ALUMINUM, INC.”
 7                                        and PERFECTUS ALUMINUM
                                          ACQUISITIONS LLC
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